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                                                             U.S. DISTRICT COURT
               IN THE UNITED STATES DISTRICT COURT FOI015
                  THE SOUTHERN DISTRICT OF GEORGIA                        D4
                          SAVANNAH DIVISION
                                                                               :25

UNITED STATES OF AMERICA

V.                                    )   CASE NO. 4:13-cr-00007-2

Grilly Holloway, Jr.,

     Defendant.


                                ORDER

     Before the Court is Defendant's Motion For Reduction In

Sentence Pursuant to 18 U.S.C. § 3582(c) (2). On June 10, 2015,

the Court, sua sponte, reduced Defendant's custodial term from

121 months to 108 months, pursuant to 18 U.S.C. § 3582(c) (2) and

Amendment 782 to the United States Sentencing Guidelines. In

Defendant's instant motion, he acknowledges that sentence

reduction but asserts that the Court assigned him the wrong

criminal history category when calculating the amended guideline

range.
     Defendant has previously made this same assertion by means

of a Motion to Correct Clerical Error (Doc. 780). That motion

was denied by this Court on November 18, 2015 (Doc. 783). In

that Order, it was explained that while the Court, at

sentencing, had awarded Defendant a downward departure from the

applicable guidelines pursuant to USSG § 4A1.3 (over-

representation of criminal history category), the Court had

still adopted criminal history category III as applicable to

Defendant, not category II. The Court merely sentenced

Defendant as if his criminal history category were category II
by downwardly departing from a range of 135 to 168 months (which
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corresponds to a total offense level of 31, criminal history
category III) . As such, Defendant is correctly assigned a
criminal history category III.
     Since the Court has already reduced Defendant's sentence

pursuant to 18 U.S.C. § 3582(c) (2), Defendant's instant motion
is construed as a motion for reconsideration of the Court's
decision in that regard. In determining the appropriate
sentence reduction as to Defendant, the Court properly
calculated the amended range as 108 to 135 months, which
corresponds to a total offense level of 29, criminal history
category III. As noted above, Defendant's sentence was reduced
to 108 months. Pursuant to USSG § 131.10(b) (2), the Court could
not again downwardly depart from the amended guideline range, as

such is prohibited.
     Defendant's Motion For Reduction In Sentence (construed as
a Motion for Reconsideration of the Court's Order reducing

sentence), is DENIED.
     SO ORDERED this j/i-     day of      e,øC4 2015.




                            WILLIAM T. MOORE, JR.//
                            JUDGE, U.S. DISTRICT bURT
                            SOUTHERN DISTRICT OF GEORGIA




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